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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION


  MIGUEL PEREZ, et al.,

                              Plaintiffs,

  VS.                                                                      Case No. 8:Ol-CV-69-T-27MSS

  PAVEX CORPORATION,

                              Defendant.
                                                   I


                                                        ORDER

           BEFORE THE COURT is Pavex's Renewed Motion for Summary Judgment as to Miguel

  Perez (Dkt. 332) andMiguel Perez's Memorandum in Opposition (Dkt. 335). Plaintiff Miguel Perez

  initiated this action against Defendant Pavex Corporation alleging Pavex discriminated against him

  based on his national origin (Hispanic) in violation of Title VIII, 42 U.S.C. 3 2000e, et seq. and 42

  U.S.C. 3 1981. (Dkt. 212). Specifically, Plaintiff claims Defendant discriminated against him by

  failing to hire him as a mechanic, by discharging him, and by subjecting him to a hostile work

  environment. Plaintiff also claims he was discharged in retaliation for opposing unlawful

  discrimination. In addition, Plaintiff asserts a state law claim for intentional infliction of emotional

  distress.' (Dkt. 212).


            Plaintiff filed a timely Charge of Discrimination with the US.Equal Employment Opportunity
  Commission ("EEOC") alleging Defendant discriminated against him by subjecting him to harassment and
  discharging him from his position as Plant Operator on the basis of his national origin. After investigating, the
  EEOC issued a Determination Letter concluding Plaintiff "was subjected to a hostile work environment and
  discharged because of his national origin, Hispanic." (Dkt. 122, Ex. 9). The EEOC concluded there was
  "reasonable cause to believe that a violation of Title VII of the Civil Rights Act of 1967, as amended, had
  occurred." (Dkt. 122, Ex. 9).
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           Defendant moves for summary judgment on Plaintiff's discriminatory discharge, retaliatory

  discharge, hostile work environment, and intentional inflection of emotion distress claim^.^ (Dkt.

  332). Upon consideration, Defendant's Renewed Motion is GRANTED as to Plaintiff's intentional

  infliction of emotional distress claim and otherwise DENIED.

                                                Factual Backwound

           Plaintiff, a Hispanic male of Cuban descent, initially applied to work at Pavex as a shop

  mechanic. (Perez Depo., pp. 28-29,42,44). Shop Foreman Mike Mooney interviewed Plaintiff but

  did not hire him. (Mooney Depo., pp. 140-141). According to Mooney, Plaintiff was not hired

  because he did not own his own tools. (Mooney Depo., p. 142). According to Plaintiff, Mooney

  made no mention of tools, but told Plaintiff he was not hired because there was a hiring freeze.

  (Perez Depo., p. 48).

           Several weeks later, on August 11,1999,Plaintiff was hired by Pavex as a dump truck driver.

  (Perez Depo., pp. 28,53). He was hired at $8.50 per hour. (Perez Depo., p. 53). Approximately, one

  week later Plaintiff became a plant groundsman. (Perez Depo., pp. 56, 58). Shortly thereafter,

  Plaintiff was promoted to plant operator and was given a $1.OO per hour raise. (Perez Depo., pp. 65-

  67,343). On September 3,1999, Frank Andre, Plaintiff's supervisor, ratedplaintiff "above average"

  in all categories, the highest rating on the evaluation form. (Dkt. 122, Ex. 1).

           In October 1999, Quality Control Technician Kenny Buchanan replaced Andre and became

  Plaintiff's supervisor. (Perez Depo., p. 98). One month later, however, Buchanan resigned because


            Defendant moves for summary judgment "on all of [Plaintiff's] claims" (Dkt. 332, p. 1) but does not
  develop an argument as to Plaintiff's claim that he was discriminated against when Defendant did not hire him as a
  mechanic. There are disputed issues of fact concerning Mooney's decision not to hire Plaintiff, particularly given
  Buchanan's testimony that he told Mooney that Plaintiff had his own tools. Plaintiff acknowledges that the position
  remained open but points out that Mooney was "always looking for good mechanics". (Dkt. 335 at p. 18.). This
  claim remains for purposes of trial.
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  he wanted a raise, which Pavex would not approve. (Perez Depo., p. 98). After Buchanan left,

  sometime in November 1999, Area Manager Jimmy Allen gave Plaintiff the keys to the company

  truck and told him that he would be the next Plant Superintendent. (Perez Depo., pp. 98-99).

  However, the Plant Superintendent position was not filled. (Perez Depo., p. 186). Rather, the Plant

  Superintendent duties were split, with Plaintiff undertaking some new responsibilities. The

  remaining duties were assigned to various individuals in other positions. (Perez Depo., pp. 71-72,

  178-181; Allen Depo., pp. 86, 88; Kesling Depo., p. 79-80).

          In December 1999, when Plaintiff had not received a promotion or another raise, he told

  Grading Division Manager Donald Kesling that he wanted a raise and that he had looked at other job

  options. (Perez Depo., pp. 184-185; Kesling Depo., p. 146). Kesling got approval for a $2.00 per

  hour raise and told Plaintiff that he would be evaluated again in ninety days in order to determine

  whether he would become a salaried Plant Superintendent. (Perez Depo., pp. 183-184,378; Kesling

  Depo., p. 146). That same month, Kesling gave Plaintiff the highest rating in all categories on his

  performance evaluation and noted that Plaintiff was a "highly skilled Plant Operator & Mechanic."

  (Dkt. 122, Ex. 4; Kesling Depo., p. 146).

         In January 2000, Orlando Plant Superintendent Mike Reed became Plaintiff's supervisor.

  (Perez Depo., pp. 182, 378; Reed Depo., p. 16). The company truck that Perez had been using to

  drive to and from work was assigned to Reed. (Perez Depo., pp. 415-416). According to Plaintiff,

  the reassignment of the truck to Reed was discriminatory. (Perez Depo., pp. 417-18). However,

  Plaintiff testified that Reed needed a truck to travel back and forth between Bartow and Orlando and

  that Plaintiff, as Plant Operator, was generally required to remain at the Plant in the control room

  most of the day. (Perez Depo., pp. 217,416). According to Pavex Northern Division President Glen
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  Monek, only salaried supervisors and Quality Control Technicians were assigned trucks to take

  home. (Monek Depo., p. 131). Plant Operators, such as Plaintiff, were not assigned a tmck.

  (Monek Depo., p. 131).

          In late March 2000, Plaintiff asked Reed for a raise. (Perez Depo., p. 103). Reed told

  Plaintiff that there was a wage freeze in the company and that nobody was getting a raise. (Perez

  Depo., p 103).

                                      Allegations of Harassment

          Plaintiff contends that throughout his employment he was harassed because he was Hispanic

  and of Cuban descent. According to Plaintiff, while making his first delivery of asphalt at Pavex,

  he damaged some fresh asphalt. (Perez Depo., pp. 18-19). Foreman Terry Overcash jumped up on

  his tmck and yelled "what the fuck do you think you're doing." (Perez Depo,, p. 18). According to

  Plaintiff, Overcash berated him for "talking with [his] fucking Cuban buddies." (Perez Depo., p. 18).

  Plaintiff was aware that Overcash used derogatory racial slurs toward other Nspanic drivers because

  the drivers had complained to Plaintiff that Overcash called them "fucking Cuban motherfuckers"

  and threatened to "kick [their] ass[es]." (Perez Depo., p. 156). Plaintiff told Kesling that Overcash

  was verbally abusing the truck drivers. (Perez Depo., p. 157). Kesling said he would look into it,

  but "nothing came about." (Perez Depo., p. 157).

         Plaintiff also witnessed Mike Reed, his supervisor, regularly use racial slurs. Reed called

  Plaintiff a "fucking Puerto Rican all the time" and mimicked him "like as if [he] was stupid all the

  time." (Perez Depo., pp. 274-5). According to Plaintiff, he told Reed he is Cuban, not Puerto Rican,

  but Reed continued to call him Puerto Rican because "Puerto Ricans are more stupid than Cubans."
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  (Perez Depo., pp. 275, 384).? According to Plaintiff, Reed would routinely say "[llisten fuclung

  Puerto Rican . . . I don't understand what you're saying," "[hley, fucking Puerto Rican. . . . [glet

  your ass over here," and "[slpeak English, you fucking Puerto Rican." (Perez Depo., pp. 277,382).

           Plaintiff also heard Reed use the term "nigger." On one occasion, after an African American

  employee threatened to leave the Plant, Reed told Plaintiff, "[tlhat fucking nigger . . . [ylou can't

  give a nigger a high-ranking job because it goes to his head." (Perez Depo., p. 272). Plaintiff also

  heard Reed call someone from the Bahamas a "sand nigger." (Perez Depo., pp. 273-4). According

  to Plaintiff, Reed treated Caucasian employees more favorably than African American employees.

  (Perez Depo., pp. 254,278-82). Plaintiff was bothered by Reed's use of racial slurs. (Perez Depo.,

  p. 277). Plaintiff told Reed that he did not like his use of racial slurs, but he did not report it to

  anyone else in management. (Perez Depo., p. 387).

             According to Plaintiff, a group of truck drivers, including Charlie Fanz, Ray Darling and

  Tom Walker, made demeaning comments to Plaintiff each morning while they sat around the coffee

  machine where employees had to clock-in. (Perez Depo., pp. 114-15). Paving Superintendent Tom

  Glor was present. (Perez Depo., p. 114). Plaintiff testified that the demeaning names, such as

  "nigger," "fuclung Cuban" and "Cuban lover," were used everyday, "it was constant." (Perez

  Depo., p. 116). Sometimes Plaintiff would not clock-in because he did not want to deal with the

  harassment. (Perez Depo., p. 196). If he did not clock-in, "Sue" or "Faye" would call and ask him

  what time he came in and write it down for him. (Perez Depo., p. 212).




            Q: Are you saying that Mike Reed would call you Puerto Rican because he was implying that Puerto
  Ricans are more stupid than Cubans?
             A: Right.
  (Perez Depo., p. 275).
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          On one occasion, Ray Darling said he hoped an approaching hurricane would hit Miami "and

  wipe[ ] it out so we can take care of all them fucking Haitians and fucking Cubans out there, just

  wipe them all out." (Perez Depo., p. 196). Plaintiff testified that co-worker Jim Lewis called him

  a "spic all the time." (Perez Depo., p. 306). According to Plaintiff, Lewis did not think Plaintiff

  should be working in the tower because he believed "it was a white man's world." (Perez Depo.,

  pp. 306-07). Lewis would tell Plaintiff to "[glo back to where [he] came from" and would say

  "[slpic, where's my fuel sheet?" (Perez Depo., p. 306).

           Plaintiff testified that early on, Frank Andre warned Plaintiff that Charlie Fanz did not like

  Cubans. (Perez Depo., p. 81). According to Plaintiff, Fanz's use of racial slurs was "constant."

  (Perez Depo., p. 191). Fanz called Plaintiff a "fucking Cuban" in front of supervisors Andre and

  Glor. (Perez Depo., pp. 82, 196). Fanz also called Plaintiff "spic" and told him he was not qualified

  to run the Plant. (Perez Depo., pp. 82-83). After a Hispanic employee was terminated because he

  failed a drug test, Fanz told Plaintiff that there was "one Cuban down and one to go." (Perez Depo.,

  p. 86). Fanz also told his daughter, Cathy Fanz, not to eat pizza that Plaintiff bought because he was

  not going to have her eat pizza with a "bunch of damn Cubans and fucking niggers." (Perez Depo.,

  pp 246-48).

          According to Plaintiff, Fanz "would make it impossible for [Plaintiff's] job to take place"

  because he would "go in there and mess with different people, just to stir up stuff." (Perez Depo.,

  p. 83). According to Plaintiff, Fanz told Joe Hickman that they needed "to get that fucking Cuban

  out of the tower" because Fanz wanted "to run the show." (Perez Depo., p. 83). Plaintiff told

  Kesling that he did not want Fanz working in the Plant, but "[Kesling] had more power than

  [Plaintiffl did. . . . [Kesling] ran the show." (Perez Depo., p. 249).
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          In December 1999, Plaintiff complained about Fanz's harassment to Jimmy Allen. (Perez

  Depo., pp. 83, 195-96, 199). Allen said he would talk to Fanz and keep him away from the Plant.

  However, Allen left Pavex one month later. (Perez Depo., p. 199). In January or February 2000,

  Plaintiff complained to Kesling about Fanz's harassing comments. (Perez Depo., pp. 189, 200).

  Plaintiff told Kesling that he "was tired of hearing all the racial remarks . . . [and] that [Fanz] needs

  to respect [him] and he needs to stay out of the plant." (Perez Depo., pp. 190-91). Plaintiff told

  Kesling that Fanz called him a "fucking Cuban," "fucking spic," and told Plaintiff to "go back to

  Miami." (Perez Depo., p. 191).

          After he complained to Kesling, Fanz stopped malung comments for a week or two, but then

  "it started again." (Perez Depo., pp. 200-1). Plaintiff complained to Kesling at least two other times.

  (Perez Depo., pp. 201,204). One time he told Kesling that Fanz called African American employee

  "Emmanuel baboon and fucking nigger." (Perez Depo., pp. 201-3). According to Plaintiff, Kesling

  said he would keep Fanz out of the Plant, but nothing changed. (Perez Depo., pp. 203-4). Another

  time, Plaintiff and several other employees complained to Kesling that Fanz said the Plant had been

  broken into because of all the "fucking niggers and Cubans, there's too many in here." (Perez Depo.,

  pp. 204-5). Plaintiff did not know whether Kesling disciplined Fanz, but Pavex employees refused

  to take Fanz's delivery of asphalt. (Perez Depo., p. 205). According to Kesling, Fanz was suspended

  for the day and issued a written warning. (Kesling Depo., pp. 77-78,83-84). Kesling told Fanz that

  Pavex would not tolerate his behavior and if he could not refrain "then he had to leave." (Kesling

  Depo., p. 78).

         Plaintiff also complained to Reed about Fanz's use of racial slurs. (Perez Depo., pp. 189-99,

  387-88). Reed told Plaintiff ''Ulust don't pay no attention to him. He ain't nothing." (Perez Depo.,
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  p. 387). According to Plaintiff, despite his frequent complaints, "nothing was ever done" and "the

  more [he] complained, the more heat [he] got" from Fanz. (Perez Depo., pp. 250, 254, 256).

  Plaintiff believed Fanz would retaliate against him because after he complained, Plaintiff noticed

  paperwork ("plant reports" and "tickets") disappeared from the office. (Perez Depo., p. 256).

           Fanz's personnel records indicate that on July 14, 1999 and January 19,2000, he was issued

  a written warning for "using inflammatory language toward Cubans & Blacks" and for "verbal abuse

  to hourly employee causing employee to quit." (Dkt. 122, Exs. 6,7). Fanz continued to work as a

  Pavex employee until he resigned on January 12, 2001 to "accept other work." (Dkt. 122, Ex. 8).

                                               Plaintifs Termination

           According to Monek, Pavex follows a policy of "progressive discipline," whereby all but the

  most serious offenses are dealt with through discipline of increasing or progressive seriousness.

  (Monek Depo., pp. 187, 188). Generally, discipline would begin with a verbal warning, followed

  by a written warning, suspension, and ultimately termination if the problem continued. (Monek

  Depo., pp. 187-88). Written warnings were placed in employees' personnel files. (Monek Depo.,



           On April 13, 2000, Reed fired Plaintiff. (Perez Depo., p. 103; Reed Depo., pp. 58, 78).4

  According to Reed, Plaintiff adopted an "I don't care attitude" after he was denied a second raise.

  (Reed Depo., p. 59). Reed had given Plaintiff the responsibility of repairing the wet scrubber in

  February and by the second week of March, it still had not been done. (Reed Depo., p. 58). Reed



            As Plaintiff's supervisor, Reed had the authority to terminate Plaintiff. (Reed Depo., p. 81; Kesling
  Depo., pp. 1639-70). Reed discussed his decision to fire Plaintiff with Glen Monek. (Reed Depo., p. 78). According
  to Reed, Monek did not ask any questions, but told Reed to "take care of it, do whatever [he] seen fit." (Reed Depo.,
  p. 78).
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  testified that he discussed Plaintiff's poor maintenance performance with Plaintiff. (Reed Depo.,

  pp. 58-9). A few days later, he told Plaintiff that he needed to cut back on his personal calls because

  he had received complaints from the people in the office who answered the phones. (Reed Depo.,

  pp. 58-59). Reed also spoke to Plaintiff about his computer errors, namely, charging people

  incorrectly for asphalt. (Reed Depo., p. 82). Reed also suspected that Plaintiff falsified his time

  records because his handwritten time records did not match Plaintiff's arrival times as reported by

  Kesling. (Reed Depo., pp. 45-6). According to Reed, Plaintiff's tardiness was also cause for his

  termination. (Reed Depo., p. 59). Reed did not give Plaintiff written warnings and did not make

  written notations of his conversations with Plaintiff. He considered his conversations with Plaintiff

  to be verbal warnings. (Reed Depo., pp. 62-65).

         The day Plaintiff was terminated, Plaintiff asked Reed why he was being fired and Reed said

  "personal phone calls and job performance," but did not provide any more specifics and said "he

  didn't want to get into it any more." (Perez Depo., pp. 390-91). According to Plaintiff, no one ever

  told him he had any performance issues and he was never given a verbal or written warning prior to

  his termination. (Perez Depo., pp. 350-51,379). Plaintiff testified that one time Kesling spoke to

  Plaintiff about incorrectly billing a daily report, but he did not consider that to have been a

  performance issue. (Perez Depo., p. 221). According to Plaintiff, no one told him he had to clock-

  in as opposed to having his hours hand written and no one ever told him he was tardy or expressed

  concern over Plaintiff taking too many personal phone calls at work. (Perez Depo., pp. 212-13,390).

         After Plaintiff was terminated, Pavex promoted Caucasian employee Kenny Kell to the Plant

  Operator position. (Reed Depo., pp, 41, 93). According to Reed, Kell frequently lost his temper

  (Reed Depo., p. 94). Kell smashed a window in the control room with his fist, threw his radio across
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  the counter, and hit another window. (Reed Depo., p. 94). Reed did not discharge Kell for his

  actions, but gave him a written warning. (Reed Depo., p. 94). Eventually, Reed told Kell he should

  look for another job because he was "close to being terminated." (ReedDepo., pp. 94-5). According

  to Kesling, Kell's employment records indicate that Kell left voluntarily for personal reasons, but

  h e told Kell "it's not worlung out." (Kesling Depo., 176).

                                   Summarv .Tudg.ment Standard

          Summary judgment is proper if following discovery, the pleadings, depositions, answers to

  interrogatories, affidavits and admissions on file show that there is no genuine issue as to any

  material fact and that the moving party is entitled to judgment as a matter of law. Celotex Corp. v.

  Catrett, 477 U.S. 317 (1986); Fed. R. Civ. P. 56. The Court must view all evidence and all factual

  inferences reasonably drawn from the evidence in the light most favorable to the nonmoving party.

  Adickes v. S.H. Kress & Co., 398 U.S. 144 (1970); Stewart v. Happy Herman's Cheshire Bridge,

  Inc., 117 F.3d 1278, 1285 (1 lth Cir. 1997).

         Once a party properly makes a summary judgment motion by demonstrating the absence of

  a genuine issue of material fact, whether or not accompanied by affidavits, the nonmoving party must

  go beyond the pleadings through the use of affidavits, depositions, answers to interrogatories and

  admissions on file, and designate specific facts showing that there is a genuine issue for trial.

  Celotex, 477 U.S. at 324.

                                              Discussion

  1.     Discriminatory Dischar~e
                              -



         A plaintiff may establish aprimafacie case of discrimination in three ways: (1) by presenting

  direct evidence of discriminatory intent; (2) by meeting the test set forth in McDonnell Douglas as
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  applied to circumstantial evidence; or (3) by demonstrating through statistics a pattern of

  discrimination. Standard v. A.B.E.L. Services, Inc., 161 F.3d 1318, 1330 (1 lth Cir. 1998) (citation

  omitted). Plaintiff has not presented direct or statistical evidence of discrimination. Accordingly,

  his circumstantial evidence of discrimination must meet the test set forth in McDonnell Douglas

  Corp. v. Green, 411 U.S. 792, 93 S.Ct. 1817, 36 L.Ed.2d 668 (1973).

            Under the McDoiznell Douglas framework, the plaintiff must first establish a prima facie

  case of discrimination. McDonnell Douglas, 41 1 U.S. at 802-04. The establishment of aprima facie

  case creates a presumption of discrimination. The employer must then offer legitimate, non-

  discriminatory reasons for the employment action to rebut the presumption. If the employer

  successfully rebuts the presumption, the burden shifts back to the plaintiff to discredit the proffered

  nondiscriminatory reasons by showing that they are pretextual. Id. at 802-04.

           To establish a prima facie case of discriminatory discharge via circumstantial evidence,

  Plaintiff must establish (1) he is a member of a protected class; (2) he was qualified for the position;

  (3) he was discharged; and (4) he was replaced by a person outside his protected class. Cuddeback

  v. Florida Bd. of Educ., 381 F.3d 1230, 1235 (1 lth Cir. 2004).

           Plaintiff has established aprima facie case of discriminatory discharge. He has demonstrated

  through record evidence that he is a member of a protected class, he was qualified for his position,

  he was discharged, and that he was replaced by a person outside his protected class, namely, Kenny

  Kell, who is C a ~ c a s i a n .In
                                   ~ turn, Defendant has articulated several legitimate, non-discriminatory


              Plaintiff correctly argues that this Court should not take into consideration Defendant's allegations of
  Plaintiff's poor performance in determining whether he has established that he was qualified for his position for
  purposes of establishing aprima facie case. See Damoiz v. Fleming Supermarkets of Florida, 196 F.3d 1354, 1360
  (1 lth Cir. 1999). Defendant's assertions regarding Plaintiff's performance are properly considered "after a prima
  facie case is established, when the court evaluates the pretextual nature of an employer's proffered non-
  discriminatory reasons for termination." Id.
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  reasons for terminating Plaintiff. Specifically, Defendant contends Plaintiff was terminated because

  Plaintiff failed to ensure maintenance of the Plant, failed to make requested repairs, was often tardy

  o r left early, received too many personal phone calls, and made numerous computer errors. Reed

   also suspected that Plaintiff falsified some of his time records. These reasons have been recognized

   as legitimate reasons for termination of an employee. See e.g. Rojas v. Florida, 285 F.3d 1339,1342

   (1 lth Cir. 2002) (recognizing poor work performance, failure to follow department procedures, and

  tardiness as legitimate reasons for termination).

          Because Defendant has met its burden of presenting legitimate, non-discriminatory reasons

  for Plaintiff's termination, Plaintiff bears the burden of showing that the reasons offered were merely

  pretext. In determining pretext, the trier of fact considers all evidence offered, including "evidence

  establishing the prima facie case and inferences properly drawn therefrom." Reeves v. Sanderson

  Plumbing, 530 U.S. 133, 143 (2000). Pretext may be shown in a number of ways, including biased

  remarks made by the decision-maker, the defendant's "policy and practice with respect to minority

  employment," the defendant's favorable treatment of employees outside the plaintiff's protected

  class, and by demonstrating a departure by the defendant from its normal policies or procedures. See

  McDonnell Douglas, 41 1 U.S. at 804-05; Reeves., 503 U.S. at 152-53.

          Viewing the evidence in the light most favorable to Plaintiff, there is a genuine issue of

  material fact concerning whether Defendant's non-discriminatory reasons for Plaintiff's termination

  were merely a pretext for unlawful discrimination. There is conflicting evidence regarding Plaintiff's

  performance, whether he was given verbal warnings by Reed, whether he was given a chance to

  correct any performance deficiencies, and whether Defendant departed from its normal discipline

  procedures in terminating Plaintiff. Resolving these discrepancies in the evidence will require the
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  factfinder to make credibility determinations and weigh the evidence. In resolving motions for

  summary judgment, these functions are expressly reserved for the jury, not the court. See Anderson

  v. Liberty Lobby, Inc., 477 U.S. 242,257 (1986).

            In addition, Plaintiff has presented evidence demonstrating that employees outside his

  protected class, such as Kenny Kell and Charlie Fanz, were treated more favorably in terms of

  disciplinary procedures. (Dkt. 122, Exs. 3 , 6 , 7 , 8 ; Reed Depo., pp. 93-96). Moreover, if Plaintiff's

  testimony is believed, Reed, Plaintiff's direct supervisor and the undisputed decision maker,

  "constantly" directed demeaning racial slurs toward Plaintiff, such as "fucking Cuban" and "stupid

  Puerto Rican." While Reed's comments fall short of direct evidence, his repeated use of racial slurs

  in connection with Plaintiff's job performance constitutes circumstantial evidence that he acted, at

  least in part, with discriminatory animus when he terminated Plaintiff. See Jones v. Bessemer

  Carraway Medical Center, 151 F.3d 1321, 1323 (11th Cir.1998) ("[llanguage not amounting to

  direct evidence, but showing some racial animus, may be significant evidence of pretext once a

  plaintiff has set out the prima facie case"); Smith v. Horner, 839 F.2d 1530, 1537 (1 lth Cir.1988)

  (allowing evidence of racial slurs to demonstrate pretext).

           Viewing the record evidence in the light most favorable to Plaintiff, which is required at this

  juncture, the evidence is sufficient to create a jury question regarding whether Defendant's non-

  discriminatory reasons for Plaintiff's termination were pretextual. Accordingly, Defendant's motion

  for summary judgment on Plaintiff's discriminatory discharge claim is DENIED.~


             Plaintiff correctly argues that there are genuine issues of fact as to Plaintiff's discharge claims under a
  mixed motive analysis. (Dkt. 335, p. 17). To establish a mixed-motive claim, a plaintiff may show through
  circumstantial evidence that unlawful discrimination was a motivating factor in the adverse employment decision.
  Desert Palace v. Costa, 539 U.S. 90, lOl(2003). Since Defendant has articulated legitimate non-discriminatory
  reasons for Plaintiff's termination, Plaintiff must accordingly offer sufficient evidence to create a genuine issue of
  material fact as to whether another "motivating factor" was Plaintiff's national origin. Rachid v. Jack in the Box,
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  2.        Retaliatorv Dischawe

            To establish a prima facie case of retaliation, a plaintiff must establish that he (1) engaged

  in protected activity; (2) suffered an adverse employment action; and (3) there is a causal connection

  between the two events. Shannon v. BellSouth Communications, 292 F.3d 7 12,715 (1 lt"Cir. 2002).

  Defendant contends summary judgment on Plaintiff's retaliation claim is proper because Plaintiff

  cannot prove a causal relationship between any of his alleged complaints about co-worker Fanz and

  his termination. (Dkt. 332, p. 18 n. 8). Defendant also argues Plaintiff fails to rebut its legitimate,

  non-retaliatory reasons for his termination. (Dkt. 332, p. 18 n. 8).

            "To establish a causal connection, a plaintiff must show that the decision-makers were aware

  of the protected conduct, and that the protected activity and the adverse actions were not wholly

  unrelated." Gupta v. Florida Board of Regents, 212 F. 3d 57 1,590 (1 lth Cir. 2000). The burden of

  causation can be met by showing close temporal proximity between the statutorily protected activity

  and the adverse employment action, but mere temporal proximity, without more, must be "very

  close." Clark County Sch. Dist. v. Breeden, 532 U.S. 268, 273 (2001). Although a close call,

  Plaintiff has sufficiently established a causal connection between his complaints about Fanz's

  repeated harassment and his termination on April 13, 2000. Plaintiff testified that he complained

  to Don Kesling in January o r February 2000. He also complained to Reed, but did not specify the

  date of his complaint.

           Viewing the evidence in the light most favorable to Plaintiff, he complained to Kesling as


  376 F.3d 305, 312 (5Lh   Cir. 2004) (quotations omitted). Plaintiff has, even in the face of Defendant's legitimate non-
  discriminatory reasons, offered sufficient circumstantial evidence to create a genuine issue of material fact as to
  whether his national origin was a motivating factor in his termination. Rachid, 376 F.3d at 315 (an employer's
  discriminatory comments that relate to job performance and protected characteristic may reasonably be found to
  establish that the protected characteristic "played a role" in the decision to terminate). It will be for the jury to
  decide whether legitimate and illegitimate reasons motivated Reed when he terminated Plaintiff.
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  late as February 2000, approximately two months prior to his termination on April 13,2000. A two

  month period of time has been recognized as sufficiently close in proximity to demonstrate a causal

  connection. See Robinson v. LaFarge North America, Inc., 240 Fed. Appx. 824, 829 (1 1th Cir.

  2007).~ At a minimum, the temporal proximity is "close" enough to create a genuine issue of

  material fact as to the element of causal connection. See e.g. Daugherty v. Mikart, Inc., 205 Fed.

  App'x 826, 827 (1 1th Cir. 2006) ("[cllose temporal proximity between protected conduct and an

  adverse employment action is generally sufficient circumstantial evidence to create a genuine issue

  of material fact of a causal connection") (citation and quotation marks omitted).

           Lastly, for the reasons discussed in connection with Plaintiff's discriminatory discharge

  claim, Plaintiff has demonstrated circumstantial evidence sufficient to create a genuine issue of

  material fact regarding whether Defendant's legitimate business reasons for Plaintiff's termination

  are pretextual. Accordingly, Defendant's motion for summary judgment on Plaintiff's retaliation

  claim is DENIED.

  3.       Hostile Work Environment

            To establish a hostile work environment claim, Plaintiff must establish that (1) he is a

  member of a protected group, (2) he has been subjected to unwelcome harassment, (3) the

  harassment was based on his protected classification, (4) the harassment was sufficiently severe or

  pervasive to alter the terms and conditions of employment and create a discriminatory abusive

  working environment, and (5) Defendant is responsible for such environment under either a theory

  of vicarious or direct liability. Miller v. Kenworth of Dothan, Znc., 277 F.3d 1269, 1275 (1lth Cir.



            Robinson is an unpublished decision and is thus persuasive, but not binding, authority pursuant to
  Eleventh Circuit Rule 36-2.
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  2002); see also Gupta, 212 F. 3d at 583.'

            Defendant contends summary judgment is proper because the use of foul language and racial

   slurs was neither severe nor pervasive. In determining whether harassment is sufficiently severe or

  pervasive to alter the terms and conditions of employment, both an objective and subjective test must

  be met. Harris v. Forklift Sys., Znc., 510 U.S. 17,21-22 (1993). A plaintiff must establish not only

  that he or she subjectively perceived the environment as hostile and abusive but also that a

  reasonable person would perceive the environment as hostile and abusive, considering the totality

  of the circumstances. Gupta, 212 F. 3d at 583. The Supreme Court has identified several factors

  relevant to whether a work environment is objectively hostile or abusive, including (1) the frequency

  of the conduct; (2) the severity of the conduct; (3) whether the conduct is physically threatening or

  humiliating or a mere offensive utterance; and (4) whether it unreasonably interferes with the

  employee's work performance. Harris, 5 10 U.S. at 23.

           Viewing the evidence in the light most favorable to Plaintiff, a reasonable jury could

  conclude that Plaintiff subjectively perceived his work environment as hostile and that a reasonable

  person would perceive the environment as hostile. If Plaintiff's testimony is believed, Plaintiff was

  subjected to frequent racial slurs by his direct supervisor, the same individual who ultimately

  terminated him. Plaintiff interacted with Reed on a daily basis, in person or by Nextel radio. Reed

  called him "fuchng Cuban" and "fuchng Puerto Rican" "all the time7' and used these demeaning

  terms in connection with Plaintiff's job performance. Plaintiff told Reed he was offended by the

  comments, but according to Plaintiff, the harassment continued. Additionally, on at least one


            Cases analyzing the requirements of a hostile work environment claim under Title VII are relevant and
  persuasive in this case, as "both of [ ]statutes [§ 1981 and Title VII] have the same requirements of proof and use the
  same analytical framework." Shields v. Fort James Corporation, 305 F.3d 1280, 1282 (1 lth Cir. 2002).

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  occasion, Foreman Overcash directed a racial slur at Plaintiff while berating him about his job

  performance. This type of supervisor harassment has been found to be sufficiently severe and

  pervasive. See Miller, 227 F.3d at 1277 (frequent, demeaning racial slurs directed at an employee

  b y his supervisor while performing his job sufficiently severe to constitute a hostile work

  environment).

          The evidence also demonstrates that Plaintiff was subjected to frequent racial slurs by co-

  workers, such as Fanz, Lewis, and Darling. According to Plaintiff, Lewis called him a "spic all the

  time" and in the course of asking him for work documents. Fanz called him "fucking Cuban" and

  "spic" "all the time" and sometimes in front of supervisors Andre and Glor. The undisputed record

  evidence demonstrates that Fanz was disciplined for using "inflammatory language toward Cubans

  & Blacks" and for "verbal abuse" on more than one occasion. (Dkt. 122, Exs. 6,7). Even though

  Fanz was subordinate to Plaintiff, his harassment was arguably severe and altered the terms and

  conditions of Plaintiff's employment. Plaintiff testified that Fanz would undermine Plaintiff's

  authority as Plant Operator, claim he was not qualified to run the Plant, and try to cause discord

  between Plaintiff and his subordinates by calling them "Cuban lovers." Fanz's harassment,

  according to Plaintiff, made "it impossible for [Plaintiff's] job to take place."

         Moreover, the evidence demonstrates that the harassment continued despite Plaintiff's

  repeated complaints to management, namely, Jimmy Allen, Don Kesling, and Plaintiff's direct

  supervisor, Mike Reed. See Miller, 277 F.3d at 1274 (hostile work environment found where

  plaintiff's foreman continued to refer to him as "wetback," "spic," and "Mexican motherfucker,"

  even though plaintiff had complained about the name-calling). The Eleventh Circuit has held that

  "it is repeated incidents of verbal harassment that continue despite the employee's objections that
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  are indicative of a hostile work environment." Miller, 277 F.3d at 1274.

          Viewing this evidence in the light most favorable to Plaintiff, a reasonable jury could

  conclude that the conduct and remarks of Plaintiff's direct supervisor, Foreman Overcash, and

  Plaintiff's co-workers, were sufficiently severe or pervasive to have created a hostile work

  environment. Accordingly, summary judgment on Plaintiff's hostile work environment claim is not

  warranted and Defendant's motion for summary judgment in this regard is DENIED.

  4.      Intentional Infliction of Emotional Distress

          In order to prove a claim for intentional infliction of emotional distress, Plaintiff must

  establish (1) deliberate or reckless infliction of mental suffering; (2) outrageous conduct; (3) the

  complained of conduct caused the suffering; and (4) the suffering was severe. See Metropolitan Life

  Ins. Co. v. McCarson, 467 So. 2d 277 (Fla. 1985). Conduct is considered "outrageous" when it is

  "so outrageous in character, and so extreme in degree, as to go beyond all possible bounds of

  decency, and to be regarded as atrocious, and utterly intolerable in a civilized community." Id. at

  278; see also Eastern Airlines, Inc. v. King, 557 So. 2d 574, 576 (Fla. 1990) (citing 5 46,

  Restatement (Second) of Torts (1965)). "Generally, the case is one in which the recitation of the

  facts to an average member of the community would arouse his resentment against the actor, and

  lead him to exclaim, 'Outrageous!"' Eastern Airlines, 557 So. 2d at 576 (citing 3 46, Restatement

  (Second) of Torts (1965)). "The issue of whether or not the activities of the defendant rise to the

  level of being extreme and outrageous so as to permit a claim of intentional infliction of emotional

  distress is a legal question in the first instance for the court to decide as a matter of law." Baker v.

  Florida National Bank, 559 So. 2d 284, 287 (Fla. 4~ DCA 1990) (citations omitted).

         The conduct complained of by Plaintiff, while reprehensible, does not meet the high standard
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  imposed by Florida courts for intentional infliction of emotional distress claims. See Vance v.

  Southern Bell Telephone and Telegram Company, 983 F.2d 1573, n.2 and n. 7 (1 lthCir. 1993);

  Williams v. Worldwide Flight Svcs. Inc., 877 So. 2d 869 (Fla. 3d DCA 2004); Lay v. Roux

  Laboratories Inc., 379 So. 2d 451, 452 (Fla. 1" DCA 1980). Significantly, in Williams, the court

  found that the supervisor's use of racial slurs, such as calling the plaintiff a "nigger" and "monkey,"

  did not rise to the level of atrociousness necessary to constitute intentional infliction of emotional

  distress. Williams, 877 So. 2d at 870.9

            Considering these authorities, the conduct Plaintiff complains of does not meet the standard

  of being "so outrageous in character, and so extreme in degree, as to go beyond all possible bounds

  of decency, and to be regarded as atrocious, and utterly intolerable in a civilized community." In

  turn, the undisputed record evidence fails to establish aprima facie case of intentional infliction of

  emotional distress. Defendant's motion for summary judgment on Plaintiff's intentional infliction

  of emotional distress claim is therefore GRANTED.

           Accordingly, it is

           ORDERED AND ADJUDGED that Defendant's Renewed Motion for Summary Judgment

  as to Plaintiff Miguel Perez (Dkt. 332) is GRANTED in part and DENIED in part. Defendant's

  motion is GRANTED as to Plaintiff's Intentional Infliction of Emotional Distress claim and

  DENIED as to Plaintiff's discriminatory discharge, retaliatory discharge, and hostile work



              See also Vamper v. United Parcel Service, Inc., 14 F. Supp.2d 1301, 1306 (S. D. Fla. 1998) (intentional
  infliction of emotional distress claim dismissed where, among other acts of hostility, supervisor told employees false
  story about plaintiff and referred to plaintiff as a "nigger" in Spanish); Mundy v. Southern Bell Telephone and
  Telegraph Co., 676 F.2d 503, 504 (1 lth Cir. 1982) (intentional infliction of emotional distress claim dismissed
  where plaintiffs superiors threatened to "get" plaintiff or destroy his career, transferred him to less desirable job
  assignments, gave him unfair negative evaluations and refused to approve reimbursement for legitimate business
  expenses after plaintiff refused to participate in a scheme to falsify expense vouchers).
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  environment claims.

           DONE AND ORDERED in chambers this   7 fdayof February, 2008.



  Copies to:
  Counsel of Record
